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 10
                           UNITED STATES DISTRICT COURT
 11
             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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 13
    PARAMOUNT PICTURES                       Case No. 2:19-cv-01156
 14 CORPORATION; COLUMBIA
    PICTURES INDUSTRIES, INC.;               NOTICE OF RELATED CASE
 15 DISNEY ENTERPRISES, INC.;
    TWENTIETH CENTURY FOX FILM               [L.R. 83-1.3.1]
 16 CORPORATION; WARNER BROS.
    ENTERTAINMENT INC.;
 17 UNIVERSAL CITY STUDIOS
    PRODUCTIONS LLLP; UNIVERSAL
 18 TELEVISION LLC; and UNIVERSAL
    CONTENT PRODUCTIONS LLC,
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              Plaintiffs,
 20
         vs.
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    OMNIVERSE ONE WORLD
 22 TELEVISION, INC.; JASON M.
    DEMEO,
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              Defendants.
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                                                                  Case No. 2:19-cv-01156
                                 NOTICE OF RELATED CASE
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  1        Plaintiffs notify the Court that this action is related, pursuant to the provisions
  2 of Civil Local Rule 83-1.3.1, to three actions that are currently or were until recently
  3 pending in this District: Amazon Content Services, LLC, et al. v. Set Broadcast,
  4 LLC, et al., No. 2:18-cv-03325-MWF-AS (hereinafter “Setvnow”); Netflix Studios,
  5 LLC, et al. v. Dragon Media, Inc., et al., No. 2:18-cv-00230-MWF-AS (hereinafter
  6 “Dragon Box”)1; and Universal City Studios Productions LLLP, et al. v. TickBox TV
  7 LLC, et al., No. 2:17-cv-07496-MWF-AS (hereinafter “TickBox”).2
  8        Setvnow, Dragon Box, and TickBox were previously deemed related to one
  9 another. By Order entered April 25, 2018 in the Setvnow action, the Court
 10 determined that the Setvnow action was related to the TickBox action; the Court
 11 ordered the Setvnow action transferred pursuant to General Order 16-05. (No. 2:18-
 12 cv-03325-MWF-AS, Dkt. No. 14.) And by Order entered January 11, 2018 in the
 13 Dragon Box action, the Court determined that the Dragon Box action was related to
 14 the TickBox action; the Court ordered the Dragon Box action transferred pursuant to
 15 General Order 16-05. (No. 2:18-cv-00230-MWF-AS, Dkt. No. 13.)
 16        Plaintiffs brought the Setvnow, Dragon Box, and TickBox actions to halt
 17 infringing conduct by defendants who, through computer hardware and software
 18 products, provide customers with access to unauthorized streams of Plaintiffs’
 19 copyrighted works. A recent declaration by defendant Paul Christoforo in the
 20 Dragon Box action identified the Defendants in the instant action as the source of
 21 the infringing content at the heart of the Dragon Box action. (No. 2:18-cv-00230-
 22 MWF-AS, Dkt. No. 49-2.) Plaintiffs have accordingly brought this action to halt the
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 24   Judgment and a permanent injunction were entered in the Dragon Box action on
    January 29, 2019. (No. 2:18-cv-00230-MWF-AS, Dkt. No. 59.) The Court retained
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    jurisdiction to enforce the terms of the judgment and permanent injunction. (Id.)
 26 2 The TickBox action closed on September 12, 2018, following entry of a permanent
 27 injunction. (No. 2:17-cv-07496-MWF-AS, Dkt. No. 74.) The Court retained
    jurisdiction to enforce the terms of the permanent injunction and the parties’
 28 settlement agreement. (Id., Dkt. No. 72.)

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  1 flagrantly infringing conduct of Defendants, who provide unlicensed content to
  2 downstream services, including Dragon Box and services similar to the those at
  3 issue in Setvnow. This action therefore “arise[s] from the same or . . . closely related
  4 . . . happening[s], or event[s].” Civ. L.R. 83-1.3.1(a).
  5         There is also substantial overlap among the Plaintiffs and copyrighted works
  6 at issue across the three actions. Six Plaintiffs in this action also brought the
  7 Setvnow, Dragon Box, and TickBox actions: Paramount Pictures Corporation;
  8 Columbia Pictures Industries, Inc.; Disney Enterprises, Inc.; Twentieth Century Fox
  9 Film Corporation; Warner Bros. Entertainment, Inc.; and Universal City Studios
 10 Productions LLLP.3
 11         Further, this action “call[s] for determination of the same or substantially
 12 related or similar questions of law and fact” as those at issue (or already decided) in
 13 Setvnow, Dragon Box, and TickBox. Civ. L.R. 83-1.3.1(b). These questions include
 14 the scope of inducement liability under Metro-Goldwyn-Mayer Studios Inc. v.
 15 Grokster, Ltd., 545 U.S. 913 (2005), and Columbia Pictures Industries, Inc. v. Fung,
 16 710 F.3d 1020 (9th Cir. 2013), and the chain of infringement that leads from the
 17 Defendants in this action to the unauthorized streams of content accessed by
 18 customers of products like those at issue in the Dragon Box and Setvnow actions.
 19         The Court has already invested substantial resources in analyzing these legal
 20 issues and understanding the relevant technology. Given the overlapping legal,
 21 factual, and technological issues raised by this action, Plaintiffs believe that
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     Universal Television LLC and Universal Content Productions LLC, formerly
 28 known as Universal Cable Productions LLC, were also plaintiffs in Setvnow.

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  1 assignment to a “different judge[ ]” would “entail substantial duplication of labor.”
  2 Civ. L.R. 83-1.3.1(c).
  3 DATED: February 14, 2019                MUNGER, TOLLES & OLSON LLP
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                                            By: /s/ Glenn D. Pomerantz
  5                                            GLENN D. POMERANTZ
                                            Attorneys for Plaintiffs
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